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UAET (02-2008)




                 Unopposed Application for Extension of Time to Answer Complaint
                     Attach this form to the Application for Extension of Time to Answer Complaint event.



C ASE   AND      D EADLINE INFORMATION



Civil Action No.: 2:21-cv-00035-JRG
Name of party requesting extension: Activision Publishing, Inc. et al
Is this the first application for extension of time in this case?                         ✔ Yes
                                                                                              No
            If no, please indicate which application this represents:                         Second
                                                                                              Third
                                                                                              Other ___________
Date of Service of Summons: 2/5/2021
Number of days requested:                   ✔ 30 days
                                                 15 days
                                                 Other _____ days
New Deadline Date: 3/28/2021                     (Required)


A TTORNEY FILING       APPLICATION INFORMATION




            Full Name: Melissa Richards Smith
            State Bar No.: 24001351
            Firm Name: GILLAM & SMITH, LLP
            Address: 303 South Washington Avenue
                         Marshall, Texas                  75670


            Phone: (903) 934-8450
            Fax: (903) 934-9257
            Email: melissa@gillamsmithlaw.com
                  A certificate of conference does not need to be filed with this unopposed application.
